                          Case 20-15992-nmc                 Doc 1        Entered 11/29/20 17:11:59                Page 1 of 57

 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Nevada District of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Robert
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Kerry
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                McLaughlin
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           6    3    4    4
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                             Case 20-15992-nmc                        Doc 1      Entered 11/29/20 17:11:59                    Page 2 of 57
               Robert Kerry McLaughlin
Debtor 1        _______________________________________________________                                    Case number (if known)_____________________________________
                First Name      Middle Name               Last Name




                                              About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                             
                                              ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                   _________________________________________________                 _________________________________________________
     the last 8 years                         Business name                                                     Business name

     Include trade names and
                                              _________________________________________________                 _________________________________________________
     doing business as names                  Business name                                                     Business name



                                              _________________________________________________                 _________________________________________________
                                              EIN                                                               EIN

                                              _________________________________________________                 _________________________________________________

                                              EIN                                                               EIN



5.   Where you live                                                                                             If Debtor 2 lives at a different address:


                                              9720 Hawk Cliff Avenue                                            _________________________________________________
                                              _________________________________________________
                                              Number     Street                                                 Number     Street


                                              _________________________________________________                 _________________________________________________


                                              Las Vegas                               NV
                                              _________________________________________________
                                                                                                89148           _________________________________________________
                                              City                            State   ZIP Code                  City                            State   ZIP Code

                                              Clark County                                                      _________________________________________________
                                              _________________________________________________
                                              County                                                            County


                                              If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                              above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                              any notices to you at this mailing address.                       any notices to this mailing address.


                                              _________________________________________________                 _________________________________________________
                                              Number     Street                                                 Number     Street

                                              _________________________________________________                 _________________________________________________
                                              P.O. Box                                                          P.O. Box

                                              _________________________________________________                 _________________________________________________
                                              City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                     Check one:                                                        Check one:
     this district to file for
     bankruptcy                               
                                              ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                    have lived in this district longer than in any other           have lived in this district longer than in any other
                                                    district.                                                      district.

                                               I have another reason. Explain.                                  I have another reason. Explain.
                                                    (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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                 Robert Kerry McLaughlin
 Debtor 1         _______________________________________________________                               Case number (if known)_____________________________________
                  First Name      Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                       Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                      for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                                
                                                ✔
                                                  Chapter 7
                                                 Chapter 11
                                                 Chapter 12
                                                 Chapter 13

 8.    How you will pay the fee                 
                                                ✔
                                                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                                   yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                   submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                   with a pre-printed address.

                                                 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                                   pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                   Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for            
                                     ✔ No
       bankruptcy within the
       last 8 years?                  Yes.        District ____________________________________________ When ______________ Case number __________________


                                                   District ____________________________________________ When ______________ Case number __________________


                                                   District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                     Debtor _________________________________________________                         R elationship to you ___________________________

                                     District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                          No.    Go to line 12.
       residence?                               
                                                ✔ Yes.   Has your landlord obtained an eviction judgment against you?


                                                          
                                                          ✔   No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                              this bankruptcy petition.




       Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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                Robert Kerry McLaughlin
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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               Robert Kerry McLaughlin
Debtor 1        _______________________________________________________                                    Case number (if known)_____________________________________
                First Name      Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                              About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                   You must check one:                                                You must check one:
      counseling.
                                              
                                              ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you                I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                 Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                 plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities          I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                          services from an approved agency, but was
                                                 unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                 days after I made my request, and exigent                          days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                of the requirement.
                                                 To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                    required you to file this case.
                                                 Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                      You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                  may be dismissed.
                                                 Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                 days.                                                              days.

                                               I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                 credit counseling because of:                                      credit counseling because of:

                                                  Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                     deficiency that makes me                                          deficiency that makes me
                                                                     incapable of realizing or making                                  incapable of realizing or making
                                                                     rational decisions about finances.                                rational decisions about finances.
                                                  Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                     to be unable to participate in a                                  to be unable to participate in a
                                                                     briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                     through the internet, even after I                                through the internet, even after I
                                                                     reasonably tried to do so.                                        reasonably tried to do so.
                                                  Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                     duty in a military combat zone.                                   duty in a military combat zone.
                                                 If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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                Robert Kerry McLaughlin
Debtor 1         _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name      Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                         as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                       No. Go to line 16b.
                                                    
                                                    ✔   Yes. Go to line 17.

                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.
                                                       No. Go to line 16c.
                                                       Yes. Go to line 17.

                                               16c. State the type of debts you owe that are not consumer debts or business debts.
                                                    _______________________________________________________________

17.   Are you filing under
      Chapter 7?                                No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                    
                                               ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                     50-99                                     5,001-10,000                           50,001-100,000
      owe?                                      100-199                                   10,001-25,000                          More than 100,000
                                                200-999
19.   How much do you                          
                                               ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          
                                               ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                 $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                    $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                        correct.
                                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                               of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                               under Chapter 7.
                                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                               this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                               I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                               with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                               18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                /s/ Robert Kerry McLaughlin
                                                  ______________________________________________               _____________________________
                                                  Signature of Debtor 1                                            Signature of Debtor 2

                                                                     11/29/2020
                                                  Executed on _________________                                    Executed on __________________
                                                                     MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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               Robert Kerry McLaughlin
Debtor 1        _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name             Last Name




                                              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                 to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                            available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                              the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                    knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                              _________________________________
                                                /s/ Chad Golightly                                                Date           11/29/2020
                                                                                                                                _________________
                                                 Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                   Chad Golightly
                                                 _________________________________________________________________________________________________
                                                 Printed name

                                                   Fair Fee Legal Services
                                                 _________________________________________________________________________________________________
                                                 Firm name

                                                  8665 South Eastern Avenue
                                                 _________________________________________________________________________________________________
                                                 Number Street

                                                  101
                                                 _________________________________________________________________________________________________

                                                  Las Vegas                                                       NV            89123
                                                 ______________________________________________________ ____________ ______________________________
                                                 City                                                    State        ZIP Code




                                                 Contact phone 7027033333
                                                               ______________________________         Email address
                                                                                                                      chad@fairfeelegalservices.com
                                                                                                                      _________________________________________



                                                  5331                                                            NV
                                                 ______________________________________________________ ____________
                                                 Bar number                                              State




           Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Robert Kerry McLaughlin
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 3,414.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 3,414.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 4,700.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 3,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 26,591.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 34,291.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 787.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 787.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Robert McLaughlin
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name      Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              0.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                      3,000.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                   3,000.00
                                                                                                            $_____________________




    Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
                            Case 20-15992-nmc                                   Doc 1              Entered 11/29/20 17:11:59                                         Page 10 of 57


Fill in this information to identify your case and this filing:

                    Robert Kerry McLaughlin
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                  Middle Name                Last Name


United States Bankruptcy Court for the: District of
Nevada
                                                                                                                                                                                                           Check if this is an
Case number                                                                                                                                                                                                amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                 12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
   3.1 Make:Chevy                                                                Who has an interest in the property? Check one
                                                                                                                                                               Do not deduct secured claims or exemptions. Put
            Model:Malibu                                                           Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                      Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2010
                                                                                      Debtor 1 and Debtor 2 only                                                 Current value of the                  Current value of the
            Approximate mileage: 250000
                                                                                      At least one of the debtors and another                                    entire property?                      portion you own?
               Other information:
              Condition:Fair;                                                        Check if this is community property (see                                    $ 862.00                              $ 862.00
                                                                                 instructions)


   3.2 Make:Pontiac                                                              Who has an interest in the property? Check one
                                                                                                                                                               Do not deduct secured claims or exemptions. Put
            Model:G6                                                               Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                      Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2009
                                                                                      Debtor 1 and Debtor 2 only                                                 Current value of the                  Current value of the
            Approximate mileage: 100000
                                                                                      At least one of the debtors and another                                    entire property?                      portion you own?
               Other information:
              Condition:Fair;                                                        Check if this is community property (see                                    $ 2,227.00                            $ 2,227.00
                                                                                 instructions)


 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 3,089.00



Part 3:         Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?



                                                                                                                                                                                                                    page 1 of 5
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Debtor 1          Robert Kerry McLaughlin                                                                                                                           Case number(if known)
                First Name            Middle Name           Last Name




  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...
  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

        Clothes                                                                                                                                                                                      $ 300.00

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤             $ 300.00



 Part 4:        Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $



                                                                                                                                                                                                                 page 2 of 5
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Debtor 1          Robert Kerry McLaughlin                                                                             Case number(if known)
                First Name           Middle Name   Last Name




  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                        Institution name:
       17.1. Other financial account:                     Direct Express (Social Security)                                                     $ 20.00

       17.2. Savings account:                             Royal Credit Union                                                                   $ 5.00

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                     companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit
             No
         Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...



                                                                                                                                                           page 3 of 5
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Debtor 1         Robert Kerry McLaughlin                                                                                                                                 Case number(if known)
                First Name          Middle Name          Last Name




                                                                                                                                                                     Federal:                      $ 0.00
                                                                                                                                                                     State:                        $ 0.00
                                                                                                                                                                     Local:                        $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
        claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤       $ 25.00


 Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:          If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:        Describe All Property You Own or Have an Interest in That You Did Not List Above
  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                             $ 0.00




                                                                                                                                                                                                            page 4 of 5
                               Case 20-15992-nmc                                       Doc 1                Entered 11/29/20 17:11:59                                       Page 14 of 57
Debtor 1            Robert Kerry McLaughlin                                                                                                                              Case number(if known)
                  First Name            Middle Name           Last Name




 Part 8:          List the Totals of Each Part of this Form
  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                 $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 3,089.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 300.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 25.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 3,414.00                        Copy personal property total➤   +$
                                                                                                                                                                                                      3,414.00

  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 3,414.00




                                                                                                                                                                                                              page 5 of 5
                           Case 20-15992-nmc                    Doc 1        Entered 11/29/20 17:11:59                            Page 15 of 57

 Fill in this information to identify your case:

                     Robert Kerry McLaughlin
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________

 Case number
  (If known)
                     ___________________________________________                                                                                       Check if this is an
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                               Copy the value from                       Check only one box
                                                               Schedule A/B                              for each exemption
                 Other - Clothes                                                                                                        Wis. Stat. Ann. § 815.18 (3)(d)
 Brief
 description:
                                                                       300.00
                                                                      $________________              300.00
                                                                                                  ✔ $ ____________

                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:         14
                 Direct Express (Social Security) (Other)                                                                               Wis. Stat. Ann. § 815.18 (3)(k)
 Brief
 description:
                                                                        20.00
                                                                      $________________            $ ____________
                                                                                                   ✔  20.00
                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:         17.1
                 Royal Credit Union (Savings)                                                                                           Wis. Stat. Ann. § 815.18 (3)(k)
 Brief
 description:
                                                                        5.00
                                                                      $________________              5.00
                                                                                                  ✔ $ ____________

                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:           17.2

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                                1
                                                                                                                                                                 page 1 of __
                             Case 20-15992-nmc                          Doc 1           Entered 11/29/20 17:11:59                               Page 16 of 57

  Fill in this information to identify your case:

                     Robert Kerry McLaughlin
  Debtor 1
                     First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name         Last Name


  United States Bankruptcy Court for the: District of Nevada

  Case number
  (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                               amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                        12/15


  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
  more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
  name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.



  Part 1:         List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If      Column A               Column B               Column C
     more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in   Amount of claim        Value of collateral    Unsecured
     alphabetical order according to the creditor’s name.                                                                         Do not deduct the      that supports this     portion If any
                                                                                                                                  value of collateral.   claim
 2.1                                                                            Describe the property that secures the claim: $ 3,200.00                 $ 2,227.00             $ 973.00


          One Main Financial
                                                                              2009 Pontiac G6 - $2,227.00
          Creditor’s Name
          740 E. Dorrell Lane, #120
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          North Las Vegas NV              89086                              apply.
          City                  State     ZIP Code                              Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                 At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number

 2.2                                                                            Describe the property that secures the claim: $ 1,500.00                 $ 862.00               $ 638.00


          Royal Credit Union
                                                                              2010 Chevy Malibu - $862.00
          Creditor’s Name
          200 Riverfront Terrace
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Eau Claire WI           54703                                      apply.
          City         State      ZIP Code                                      Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                                                                                An agreement you made (such as mortgage or
                 At least one of the debtors and another
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred 2014
                                                                             Last 4 digits of account number 4568384285



Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                            page 1 of 2
               Robert Kerry McLaughlin
Debtor        First Name   Case 20-15992-nmc
                             Middle Name     Last Name            Doc 1          Entered 11/29/20 17:11:59 Case
                                                                                                             Page    17known)
                                                                                                                number(if of 57

                Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                        $ 4,700.00



  Part 2:      List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
   you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
   you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 2 of 2
                                   Case 20-15992-nmc                     Doc 1           Entered 11/29/20 17:11:59                                Page 18 of 57

   Fill in this information to identify your case:

                        Robert Kerry McLaughlin
   Debtor 1
                        First Name        Middle Name             Last Name

   Debtor 2
   (Spouse, if filing) First Name           Middle Name             Last Name


   United States Bankruptcy Court for the: District of Nevada

   Case number
   (if know)                                                                                                                                                                       Check if this is an
                                                                                                                                                                                   amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
 contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
 and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
 Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
 additional pages, write your name and case number (if known).

   Part 1:         List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type
      of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical
      order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list
      the other creditors in Part 3. (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                                 Total claim        Priority            Nonpriority
                                                                                                                                                                    amount              amount

  2.1                                                                         Last 4 digits of account number                                    $ 3,000.00         $ Unknown          $ 3,000.00
          Internal Revenue Service
                                                                              When was the debt incurred? 2019
          Priority Creditor's Name
                                                                              As of the date you file, the claim is: Check all
          Number         Street                                               that apply.
          .         .          .                                                 Contingent
          City      State      ZIP Code                                          Unliquidated
          Who owes the debt? Check one.                                          Disputed
            Debtor 1 only
                                                                              Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                                 Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                                 Taxes and certain other debts you owe the
                 At least one of the debtors and another                         government
              Check if this claim relates to a community                         Claims for death or personal injury while you were
              debt                                                               intoxicated
          Is the claim subject to offset?                                        Other. Specify
              No
                 Yes
   Part 2:         List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
      creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
      list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                        Total claim




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                     page 1 of 6
                   Robert Kerry McLaughlin
 Debtor           First Name      Case 20-15992-nmc
                                    Middle Name   Last Name    Doc 1        Entered 11/29/20 17:11:59 Case
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                                                                                                           number(if of 57


  4.1                                                            Last 4 digits of account number 700580***
          Americollect Inc                                                                                                         $ 125.00
                                                                 When was the debt incurred? 2018
          Nonpriority Creditor's Name
          Po Box 1566                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                     Contingent
          Manitowoc WI             54221                            Unliquidated
          City           State     ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                     Student loans
                 Debtor 1 and Debtor 2 only                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
                 At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.2                                                            Last 4 digits of account number 700766***
          Americollect Inc                                                                                                         $ 204.00
                                                                 When was the debt incurred? 2019
          Nonpriority Creditor's Name
          Po Box 1566                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                     Contingent
          Manitowoc WI             54221                            Unliquidated
          City           State     ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                     Student loans
                 Debtor 1 and Debtor 2 only                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
                 At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
                 Yes

  4.3                                                            Last 4 digits of account number 700573***
          Americollect Inc                                                                                                         $ 927.00
                                                                 When was the debt incurred? 2018
          Nonpriority Creditor's Name
          Po Box 1566                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                     Contingent
          Manitowoc WI             54221                            Unliquidated
          City           State     ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                     Student loans
                 Debtor 1 and Debtor 2 only                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
                 At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                    page 2 of 6
                   Robert Kerry McLaughlin
 Debtor           First Name      Case 20-15992-nmc
                                       Middle Name   Last Name    Doc 1        Entered 11/29/20 17:11:59 Case
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  4.4                                                               Last 4 digits of account number 517805******
          Capital One Bank Usa N                                                                                                      $ 1,014.00
                                                                    When was the debt incurred? 2012
          Nonpriority Creditor's Name
          Po Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Salt Lake City UT             84131                          Unliquidated
          City                 State    ZIP Code                       Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                        Student loans

                 Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
                 Yes

  4.5                                                               Last 4 digits of account number 346560**
          Credit Coll                                                                                                                    $ 63.00
                                                                    When was the debt incurred? 2019
          Nonpriority Creditor's Name
          Po Box 9133                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Needham MA               02494                               Unliquidated
          City          State      ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                        Student loans

                 Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
                 Yes

  4.6                                                               Last 4 digits of account number 769297**
          Credit Coll                                                                                                                  $ 156.00
                                                                    When was the debt incurred? 2019
          Nonpriority Creditor's Name
          Po Box 9133                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Needham MA               02494                               Unliquidated
          City          State      ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                        Student loans

                 Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                      page 3 of 6
                   Robert Kerry McLaughlin
 Debtor           First Name      Case 20-15992-nmc
                                     Middle Name   Last Name    Doc 1        Entered 11/29/20 17:11:59 Case
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  4.7                                                             Last 4 digits of account number 898151*****
          Fnb Omaha                                                                                                                     $ 69.00
                                                                  When was the debt incurred? 2019
          Nonpriority Creditor's Name
          Po Box 3412                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                      Contingent
          Omaha NE               68103                               Unliquidated
          City       State       ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                      Student loans
                 Debtor 1 and Debtor 2 only                          Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
                 At least one of the debtors and another             Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.8                                                             Last 4 digits of account number
          Lincoln Financial                                                                                                         $ 14,000.00
                                                                  When was the debt incurred? 2019
          Nonpriority Creditor's Name
          150 North Radnor-Chester Road                           As of the date you file, the claim is: Check all that apply.
          Number         Street                                      Contingent
          Wayne PA               19087                               Unliquidated
          City       State       ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                      Student loans
                 Debtor 1 and Debtor 2 only                          Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
                 At least one of the debtors and another             Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes
  4.9                                                             Last 4 digits of account number 444796******0092
          Lvnv Funding Llc                                                                                                           $ 1,364.00
                                                                  When was the debt incurred? 2018
          Nonpriority Creditor's Name
          Po Box 1269                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                      Contingent
          Greenville SC            29602                             Unliquidated
          City           State     ZIP Code                          Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                      Student loans
                 Debtor 1 and Debtor 2 only                          Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
                 At least one of the debtors and another             Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                       page 4 of 6
                   Robert Kerry McLaughlin
 Debtor           First Name       Case 20-15992-nmc
                                      Middle Name   Last Name    Doc 1        Entered 11/29/20 17:11:59 Case
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  4.10                                                             Last 4 digits of account number 302402***
          Midland Credit Managem                                                                                                      $ 977.00
                                                                   When was the debt incurred? 2019
          Nonpriority Creditor's Name
          320 E Big Beaver Rd Ste                                  As of the date you file, the claim is: Check all that apply.
          Number          Street                                      Contingent
          Troy       MI           48083                               Unliquidated
          City       State        ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                       Student loans
                 Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
                 At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.11                                                             Last 4 digits of account number 9184947039347751
          Onemain                                                                                                                    $ 5,197.00
                                                                   When was the debt incurred? 2018
          Nonpriority Creditor's Name
          Po Box 1010                                              As of the date you file, the claim is: Check all that apply.
          Number          Street                                      Contingent
          Evansville IN             47706                             Unliquidated
          City            State     ZIP Code                          Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                       Student loans
                 Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
                 At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.12                                                             Last 4 digits of account number 221912**
          Radius Global Solution                                                                                                      $ 445.00
                                                                   When was the debt incurred? 2017
          Nonpriority Creditor's Name
          7831 Glenroy Rd Ste 250                                  As of the date you file, the claim is: Check all that apply.
          Number          Street                                      Contingent
          Edina      MN           55439                               Unliquidated
          City       State        ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                       Student loans

                 Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
                 At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                      page 5 of 6
                   Robert Kerry McLaughlin
 Debtor           First Name      Case 20-15992-nmc
                                    Middle Name   Last Name          Doc 1          Entered 11/29/20 17:11:59 Case
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  4.13                                                                 Last 4 digits of account number 461604******0301
          Royalcrun                                                                                                                                                             $ 2,050.00
                                                                       When was the debt incurred? 2014
          Nonpriority Creditor's Name
          419 W Hasting Place                                          As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Eau Claire WI            54702                                   Unliquidated
          City           State     ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans

                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
                 Yes

   Part 3:         List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
     for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
     out or submit this page.


   Part 4:         Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



                                                                                                                         Total claim

   Total claims           6a. Domestic support obligations                                                  6a.    $ 0.00
   from Part 1
                          6b. Taxes and certain other debts you owe the government                          6b.    $ 3,000.00

                          6c. Claims for death or personal injury while you were                            6c.    $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that                    6d.    $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                               6e.
                                                                                                                     $ 3,000.00



                                                                                                                         Total claim

   Total claims           6f. Student loans                                                                 6f.    $ 0.00
   from Part 2
                          6g. Obligations arising out of a separation agreement or                          6g.    $ 0.00
                              divorce that you did not report as priority claims
                          6h. Debts to pension or profit-sharing plans, and other similar                   6h.    $ 0.00
                              debts
                          6i. Other. Add all other nonpriority unsecured claims. Write that                 6i.    $ 26,591.00
                              amount here.
                          6j. Total. Add lines 6f through 6i.                                               6j.
                                                                                                                     $ 26,591.00




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 6 of 6
                          Case 20-15992-nmc                    Doc 1         Entered 11/29/20 17:11:59            Page 24 of 57

  Fill in this information to identify your case:


  Debtor 1
                     Robert Kerry McLaughlin
                      First Name       Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name         Middle Name             Last Name


  United States Bankruptcy Court for the: District of Nevada

  Case number                                                                                                                        Check if this is an
  (if know)                                                                                                                          amended filing




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of
any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for




Official Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                                    page 1 of 1
                            Case 20-15992-nmc                    Doc 1         Entered 11/29/20 17:11:59                Page 25 of 57

 Fill in this information to identify your case:


 Debtor 1
                  Robert Kerry McLaughlin
                     First Name       Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name             Last Name


 United States Bankruptcy Court for the: District of Nevada

 Case number                                                                                                                                 Check if this is an
 (if know)                                                                                                                                   amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.


       Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:




Official Form 106H                                                          Schedule H: Your Codebtors                                                page 1 of 1
                           Case 20-15992-nmc              Doc 1      Entered 11/29/20 17:11:59                  Page 26 of 57

 Fill in this information to identify your case:

                      Robert Kerry McLaughlin
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Nevada    District
                                                                                tate)
 Case number         ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                             Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Unemployed
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address        _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      ,
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.            0.00
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.            0.00
                                                                                              $__________            $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
                 Robert
                          Case 20-15992-nmc
                         Kerry McLaughlin
                                                                          Doc 1           Entered 11/29/20 17:11:59                           Page 27 of 57
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.          787.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.          787.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                              787.00
                                                                                                                         $___________     +       $_____________      =        787.00
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                               787.00
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                            Case 20-15992-nmc                 Doc 1          Entered 11/29/20 17:11:59                       Page 28 of 57

  Fill in this information to identify your case:

                     Robert Kerry McLaughlin
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Nevada
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                           Case 20-15992-nmc                     Doc 1    Entered 11/29/20 17:11:59             Page 29 of 57

                    Robert Kerry McLaughlin
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                         0.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                       90.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      200.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                         0.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                         0.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                         0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                       70.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                         0.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      140.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  IRS Repayment
        Specify: ________________________________________________________                                        16.
                                                                                                                                      145.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      142.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                   Robert Kerry McLaughlin
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                   787.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                   787.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                         787.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                   787.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                       0.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:   Debtor lives with his fiance' and her daughter. Debtor's monthly income allows him to pay for
                                    his personal expenses; the fiance' pays for the household expenses.




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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Fill in this information to identify your case:

Debtor 1           Robert Kerry McLaughlin
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Nevada      District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                            Check if this is an
                                                                                                                                                amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                           12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Robert Kerry McLaughlin
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              11/29/2020
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                            Case 20-15992-nmc              Doc 1        Entered 11/29/20 17:11:59                  Page 32 of 57

 Fill in this information to identify your case:

 Debtor 1          Robert Kerry McLaughlin
                   __________________________________________________________________
                      First Name             Middle Name              Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Nevada      District of ______________
                                                                            (State)
 Case number          ___________________________________________
  (If known)                                                                                                                            Check if this is an
                                                                                                                                          amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                         4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                 lived there

                                                                                       Same as Debtor 1                                      Same as Debtor 1

                511 Lemon Street
               __________________________________________       From 05/2018
                                                                     ________            ___________________________________________           From ________
                Number    Street                                                         Number Street
                                                                To      __________
                                                                        06/2018                                                                To      ________
               __________________________________________                                ___________________________________________

               Hudson                   WI    54016
               __________________________________________                                ___________________________________________
               City                     State ZIP Code                                   City                     State ZIP Code


                                                                                       Same as Debtor 1                                      Same as Debtor 1

               1439 Doman Street #1
               __________________________________________       From 01/2015
                                                                     ________            ___________________________________________           From ________
                Number    Street                                                         Number Street
                                                                To      ________
                                                                        09/2018                                                                To      ________
               __________________________________________                                ___________________________________________

               New  Richmond            WI    54017
               __________________________________________                                ___________________________________________
               City                       State ZIP Code                                 City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
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Debtor 1        Robert Kerry McLaughlin
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2019                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              0.00                                                $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________
                                        Social Security Disability                 $________________
                                                                                    8,657.00                  _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________
                                         Long Term Disability      $________________
                                                                    15,600.00                                  _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2019                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________
                                         Long Term Disability      $________________
                                                                    15,600.00                                  _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2018
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1       Robert Kerry McLaughlin
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            Robert Kerry McLaughlin
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount      Amount you still    Reason for this payment
                                                                          payment     paid              owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                _________    $____________ $____________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                         Dates of      Total amount     Amount you still    Reason for this payment
                                                                         payment       paid             owe
                                                                                                                            Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________                _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1          Robert  Kerry McLaughlin
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     ✔     No
          Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case

    Case title:
                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Robert Kerry McLaughlin
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1            Robert Kerry McLaughlin
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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Debtor 1           Robert Kerry McLaughlin
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Robert Kerry McLaughlin
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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Debtor 1            Robert Kerry McLaughlin
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
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Debtor 1           Robert Kerry McLaughlin
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     ✔     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
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Debtor 1           Robert Kerry McLaughlin
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                      Employer Identification number
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                             Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                             From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Robert Kerry McLaughlin
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                     Signature of Debtor 2


            Date ________________
                  11/29/2020                                                          Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
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Fill in this information to identify your case:

                  Robert Kerry McLaughlin
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Nevada      District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                          
                                                                                                                                          ✔ No
          name:           Royal Credit Union
                                                                                        Retain the property and redeem it.                Yes
         Description of          2010 Chevy Malibu
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        One Main Financial                                          
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of          2009 Pontiac G6
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
                          Case 20-15992-nmc               Doc 1       Entered 11/29/20 17:11:59                Page 45 of 57
                     Robert Kerry McLaughlin
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Robert Kerry McLaughlin
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             11/29/2020
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
 Debtor 1         Robert  Kerry McLaughlin
                  __________________________________________________________________
                     First Name                 Middle Name                    Last Name
                                                                                                             
                                                                                                             ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                    Last Name                        2. The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
                                         District of Nevada
 United States Bankruptcy Court for the: ____________   District of   _______________
                                                                                                                    Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                                 3. The Means Test does not apply now because of
 (If known)
                                                                                                                    qualified military service but it could apply later.


                                                                                                              Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔     Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A             Column B
                                                                                                               Debtor 1             Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                            0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                      0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                    0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

   5. Net income from operating a business, profession,
                                                                               Debtor 1    Debtor 2
      or farm
      Gross receipts (before all deductions)                                      0.00
                                                                                 $______    0.00
                                                                                           $______
        Ordinary and necessary operating expenses                                0.00 – $______
                                                                              – $______  0.00
                                                                                                      Copy
        Net monthly income from a business, profession, or farm                   0.00
                                                                                 $______    0.00
                                                                                           $______ here          0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

   6. Net income from rental and other real property                           Debtor 1    Debtor 2
      Gross receipts (before all deductions)                                      0.00
                                                                                 $______    0.00
                                                                                           $______
        Ordinary and necessary operating expenses                                0.00 – $______
                                                                              – $______  0.00
                                                                                                      Copy
        Net monthly income from rental or other real property                    $______    0.00
                                                                                           $______ here          0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________
  7. Interest, dividends, and royalties                                                                           0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                         page 1
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Debtor 1          Robert  Kerry McLaughlin
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................     0.00
                                                                                                        $______________
           For your spouse ..................................................................             0.00
                                                                                                        $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                             0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
                                                                                                                                    0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
       Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   0.00                 +        0.00              =    0.00
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          0.00
                                                                                                                                                                                      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     0.00
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                    NV

       Fill in the number of people in your household.                                                  1

                                                                                                                                                                                        53,731.00
                                                                                                                                                                                      $__________
       Fill in the median family income for your state and size of household. ................................................................................................. 13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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Debtor 1     Robert  Kerry McLaughlin
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Robert Kerry McLaughlin
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       11/29/2020
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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AMERICOLLECT INC
PO BOX 1566
MANITOWOC, WI 54221

CAPITAL ONE BANK USA N
PO BOX 31293
SALT LAKE CITY, UT 84131

CREDIT COLL
PO BOX 9133
NEEDHAM, MA 02494

FNB OMAHA
PO BOX 3412
OMAHA, NE 68103

INTERNAL REVENUE SERVICE

LINCOLN FINANCIAL
150 NORTH RADNOR-CHESTER ROAD
WAYNE, PA 19087

LVNV FUNDING LLC
PO BOX 1269
GREENVILLE, SC 29602

MIDLAND CREDIT MANAGEM
320 E BIG BEAVER RD STE
TROY, MI 48083

ONE MAIN FINANCIAL
740 E. DORRELL LANE, #120
NORTH LAS VEGAS, NV 89086

ONEMAIN
PO BOX 1010
EVANSVILLE, IN 47706

RADIUS GLOBAL SOLUTION
7831 GLENROY RD STE 250
EDINA, MN 55439

ROYAL CREDIT UNION
200 RIVERFRONT TERRACE
EAU CLAIRE, WI 54703

ROYALCRUN
419 W HASTING PLACE
EAU CLAIRE, WI 54702
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                          Chad Golightly, 5331
NVB 1007-1 (Rev. 12/15)
                          8665 South Eastern Avenue 101, Las Vegas, NV 89123
                          Tel: 7027033333
                          Fax: 7029268512
                          chad@fairfeelegalservices.com
                    1     Name, Address, Telephone No., Bar Number, Fax No. & E-mail address

                    2
                    3
                    4                                      UNITED STATES BANKRUPTCY COURT
                    5                                                    DISTRICT OF NEVADA
                    6
                    7     In re: (Name of Debtor)                                       BK-
                           Robert Kerry McLaughlin

                    8                                                                   Chapter: 7

                    9
                                                                                        VERIFICATION OF CREDITOR MATRIX
                  10                                             Debtor(s)

                  11
                  12        The above named Debtor hereby verifies that the attached list of creditors is true and correct to
                           to the best of his/her knowledge.
                  13
                  14
                  15
                          Date ____________________
                               11/29/2020                                                 Signature ____________________
                                                                                                    /s/ Robert Kerry McLaughlin
                  16
                  17
                  18
                          Date ____________________
                               11/29/2020                                                 Signature ____________________
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28                                                                1
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
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     B2030 (Form 2030)20-15992-nmc
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                                      United States Bankruptcy Court
                                                                   District of Nevada
                                               __________________________________
     In re   Robert Kerry McLaughlin

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         799.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 799.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Preparing and Filing Petition; attend 341 meeting of creditors; scheduled meetings with the Bankruptcy Trustee.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Adverse proceedings, Appeals, Amendments to the Petition, Conversion of the Petition to another Chapter of the Bankruptcy code.
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                                      CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceeding.

  11/29/2020                       /s/ Chad Golightly, 5331
_____________________             _________________________________________
Date                                    Signature of Attorney
                                   Fair Fee Legal Services
                                  _________________________________________
                                        ​Name of law firm
                                   8665 South Eastern Avenue
                                   101
                                   Las Vegas, NV 89123
                                   7027033333
                                   chad@fairfeelegalservices.com
